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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                   NO. 4:14CR00188 JLH

FREDDIE EUGENE BREWSTER,
ALTON ELIJAH GIVENS,
CHRISTOPHER LAMONT JONES,
THOMAS STACY CAFFREY,
RICHARD BEASON, DARRELL
GREEN, CLARENCE ALLEN,
WILLIE JOSEPH TYLER, JR.,
RACHEL LEWIS, LADEITRICK
HAMPTON, ASHLEY RAMAGE,
LINDA BREWSTER, DAVID
BOWMAN, JR., D’ANGELO CANNON,
MICHAEL ESHUN DAWKINS,
VERNA THOMPSON, BRUNSON JAY
TAYLOR, CHARLES OLIVER,
CLINTON BREWER, RODRIQUES
D’ANGELO DAVIS, JENNIFER MAY,
CHRISTIAN WHITE, TAQUILA SHOTO
and CHRISTINA AKINS BREWSTER                                                       DEFENDANTS

                                             ORDER

       Pending before the Court is the motion for continuance of the May 26, 2015, trial date filed

by defendant Christian White. Document #278. The Court has determined that due to the number

of defendants and attorneys involved in this case the most efficient manner of which to handle the

motion for continuance will be to establish a deadline for any defendant opposing the motion to file

a response in opposition.

       IT IS THEREFORE ORDERED that any defendant opposing the motion for continuance

must file a response in opposition on or before MAY 14, 2015. It will not be necessary for any

defendant who supports the motion for continuance to respond.

       The Court will assume that any defendant who does not file a response in opposition of the
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motion on or before May 14, 2015, joins in the motion for continuance and waives Speedy Trial

requirements up to and including the next scheduled trial date.

       IT IS SO ORDERED this 4th day of May, 2015.



                                                    ___________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
